          Case 1:19-vv-01832-UNJ Document 48 Filed 02/22/22 Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1832V
                                    Filed: January 26, 2022
                                        UNPUBLISHED


 RAYMOND P. BRADY,                                          Special Master Daniel Horner

                        Petitioner,                         Ruling on Entitlement; Concession;
 v.                                                         Table Injury; Tetanus diphtheria
                                                            acellular pertussis (Tdap) vaccine;
 SECRETARY OF HEALTH AND                                    Shoulder Injury Related to Vaccine
 HUMAN SERVICES,                                            Administration (SIRVA)

                       Respondent.


Michael J Burns, Bowen & Burns, Southampton, PA, for petitioner.
Adriana R. Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

      On December 3, 2019, Raymond Brady (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that he suffered a left
shoulder injury related to vaccine administration (“SIRVA”) as a result of his December
7, 2016 Tetanus diphtheria acellular pertussis (“Tdap”) vaccination. Petition at 1.

      On January 25, 2022, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent states that:



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
            Case 1:19-vv-01832-UNJ Document 48 Filed 02/22/22 Page 2 of 2




        DICP has concluded that petitioner’s medical course is consistent with
        SIRVA as defined by the Vaccine Injury Table and corresponding
        Qualifications and Aids to Interpretation. Specifically, petitioner had no pre-
        vaccination history of pain, inflammation, or dysfunction of his left shoulder;
        pain occurred within 48 hours after recipe of an intramuscular vaccination;
        pain and reduced range of motion were limited to the shoulder in which the
        vaccine was administered; and, no other condition or abnormality, such as
        brachial neuritis, has been identified to explain petitioner’s shoulder pain.
        42 C.F.R. §§ 100.3(a), (c)(10). Additionally, based on the medical records
        outlined above, petitioner suffered the residual effects of his condition for
        more than six months. Therefore, based on the record as it now stands,
        petitioner has satisfied all legal prerequisites for compensation under the
        Act. See 42 U.S.C § 300aa-13(a)(1)(B): 42 U.S.C. § 300aa-11(c)(1)(D)(i).

Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Daniel T. Horner
                                    Daniel T. Horner
                                    Special Master




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